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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF LOUISIANA
                              LAFAYETTE DIVISION


 TARA FOGLEMAN-LAXEY                           CASE NO. 6:21-CV-03038

 VERSUS                                        CHIEF JUDGE S. MAURICE
                                               HICKS, JR.

 JOSH GUILLORY ET AL                           MAGISTRATE JUDGE PATRICK
                                               J. HANNA

                                       MINUTES

       A telephone status conference was held on Thursday, June 23, 2022 starting

 at 1:30 p.m. and ending at 1:57 p.m.1 Participating in the conference, along with the

 undersigned, were Fabio Dworschak, Lane Conrad, and Luis Pena-Navarro on

 behalf of plaintiff; Joy Rabalais on behalf of defendants Josh Guillory, Scott

 Morgan, Lisa Carstens and Don Landry; Jennifer Ardoin on behalf of Mark Garber;

       The undersigned heard discussion on several discovery issues in this case. As

 directed during the conference, plaintiff’s counsel will provide cited authorities to

 the Court as soon as is practicable by email at: hanna_orders@lawd.uscourts.gov.

       Signed at Lafayette, Louisiana, this 23rd day of June, 2022.


                                        ____________________________________
                                        PATRICK J. HANNA
                                        UNITED STATES MAGISTRATE JUDGE

 1
       Statistical time: 27 minutes.
